Case 20-20309-JAD            Doc 31      Filed 03/01/21 Entered 03/01/21 12:25:47               Desc Final
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  Form 129
                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re:
                                                                 Bankruptcy Case No.: 20−20309−JAD
  Delores J Boughter
    Debtor(s)                                                    Chapter: 7




                                              FINAL DECREE

                       The estate of the above named debtor has been fully administered.



  IT IS ORDERED THAT:

         Charles O. Zebley Jr. is discharged as trustee of the estate of the above named Debtor(s) and
  the bond is cancelled; the Chapter 7 case of the above named Debtor(s) is closed.




  Dated: March 1, 2021                                              Jeffery A. Deller
                                                                    United States Bankruptcy Judge
